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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

  MARTIN GWYNN,

        Plaintiff,

  v.                                                   CASE NO.: 8:09-cv-2093-T-23TGW

  RABCO LEASING, INC., et al.,

       Defendants.
  __________________________________/

                                            ORDER

         Based on Rabco Leasing’s Chapter 7 Bankruptcy petition and the automatic stay

  of each of the plaintiff’s claims against Rabco Leasing, the plaintiff moved (Doc. 66) on

  May 6, 2010, to dismiss Rabco Leasing’s counterclaim (Doc. 65) “for lack of subject

  matter jurisdiction.” On June 23, 2010, the plaintiff announced (Doc. 69) that the

  bankruptcy court granted the plaintiff’s motion to lift the automatic stay. Thus, a June

  25, 2010, order (Doc. 71) denied as moot the plaintiff’s motion to dismiss (Doc. 66).

  The plaintiff again moves (Doc. 78) to dismiss the counterclaim based on judicial

  estoppel, failure to state either a claim for copyright or trademark infringement, and a

  lack of subject matter jurisdiction. The defendants respond (Doc. 84) in opposition.

        Rule 12(g)(2), Federal Rules of Civil Procedure, states that “[e]xcept as provided

  in Rule 12(h)(2) or (3), a party that makes a motion under this rule must not make

  another motion under this rule raising a defense or objection that was available to the

  party but omitted from its earlier motion.” Instead of resorting to successive motions,

  Rule 12(h)(2) instructs a party to raise either the defense of “failure to state a claim” or

  any other legal defense (1) “in any pleading allowed or ordered under Rule 7(a),” (2) “by
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  motion under Rule 12(c),” or (3) “at trial.” Rule 12(h)(3) requires dismissal of an action if

  at any time the court lacks subject matter jurisdiction.

        To the extent that the motion (Doc. 78) asserts a defense not raised in the

  plaintiff’s previous motion (Doc. 66), Rule 12(g)(2) prohibits the raising of each defense

  by a successive motion. The plaintiff may, however, raise each defense in accord with

  Rule 12(h)(2). The plaintiff argues that this court lacks “subject matter jurisdiction” over

  counts one, two, five, six, seven, nine, and ten, because “[a]s permissive counterclaims,

  they are outside the supplemental jurisdiction of this [c]ourt and therefore require an

  independent basis for jurisdiction.” This argument utterly lacks merit. Section 1367 of

  Title 28, United States Code, permits the discretionary exercise of supplemental

  jurisdiction over counts one, two, five, six, seven, nine, and ten, even if the claim is

  permissive. Count six arises under the Computer Fraud and Abuse Act, 18 U.S.C.

  § 1030, and subject matter jurisdiction exists under 28 U.S.C. §§ 1331.

        Accordingly, the plaintiff’s motion (Doc. 78) to dismiss is DENIED, and the

  plaintiff’s motion to file a reply (Doc. 85) is DENIED AS MOOT. Each party is cautioned

  that a motion asserting a frivolous argument and wasting valuable and scarce resources

  may result in sanctions. The discernable direction of this action raises a distinct

  prospect that sanctions will occur unless counsel promptly govern themselves more

  wisely.

        ORDERED in Tampa, Florida, on July 28, 2010.




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